 Case: 4:10-cv-02249-CEJ Doc. #: 4-2 Filed: 12/02/10 Page: 1 of 2 PageID #: 206




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


MONSANTO COMPANY and                          )
                                              )
MONSANTO TECHNOLOGY LLC,                      )
                                              )
        Plaintiffs,                           )
                                              )
vs.                                           )      CIVIL ACTION NO.
                                              )
ZEFERINO SAUCEDA,                             )
                                              )
        Defendant.                            )

                                    PROTECTIVE ORDER

        Plaintiffs Monsanto Company and Monsanto Technology LLC (“Monsanto”) seek a

protective order to prevent the Defendant from destroying cotton fields or crop residue before

Monsanto can inspect and sample the fields. Pursuant to Federal Rule of Civil Procedure 26(c),

Monsanto proposes that the following provisions shall govern the protective order:

        1.      This Order prevents the Defendant and any other person or entity acting in

concert with the Defendant from destroying any evidence at issue in this lawsuit, including

cotton crops or crop residue (either by tilling or by conducting any farm operation that would

disturb the crops or crop residue), and/or cotton seeds, wherever they exist and/or are stored,

before Monsanto can inspect and sample the fields and storage locations.

        2.      This Order shall remain in full force and effect until (1) Monsanto’s inspection is

completed and reports to the Court that the Order of Protection is no longer necessary; (2) such

time it is modified, amended or rescinded by the Court; or (3) until such time as the parties may

petition the Court to modify or amend its terms.




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 Case: 4:10-cv-02249-CEJ Doc. #: 4-2 Filed: 12/02/10 Page: 2 of 2 PageID #: 207




SO ORDERED:

Dated:                              ______________________________
                                          Judge




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